                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA



 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:10-cr-158
 v.                                                   )
                                                      )       COLLIER / LEE
 JAMES DAVID MIKEL                                    )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Indictment; (2) accept Defendant’s plea of guilty to the lesser-included offense of the charge in

 Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of

 methamphetamine (actual) and fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser-included

 offense of the charge in Count One of the Indictment, that is of conspiracy to manufacture and

 distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

 custody until sentencing in this matter (Court File No. 125). Neither party filed a timely objection

 to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Court File No. 125) pursuant to 28 U.S.C. §




Case 1:10-cr-00158-CLC-SKL           Document 134         Filed 06/20/11     Page 1 of 3     PageID
                                           #: 276
 636(b)(1) and ORDERS as follows:

       (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

              is GRANTED;

       (2)    Defendant’s plea of guilty to the lesser-included offense of the charge in Count One,

              that is of conspiracy to manufacture and distribute five (5) grams or more of

              methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

              containing a detectable amount of methamphetamine, a Schedule II controlled

              substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) is

              ACCEPTED;

       (3)    Defendant is hereby ADJUDGED guilty of the lesser-included offense of the charge

              in Count One, that is of conspiracy to manufacture and distribute five (5) grams or

              more of methamphetamine (actual) and fifty (50) grams or more of a mixture and

              substance containing a detectable amount of methamphetamine, a Schedule II

              controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B);

       (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

              and

       (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

              scheduled to take place on Thursday, September 8, 2011 at 2:00 p.m. before the

              Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                             /s/
                                             CURTIS L. COLLIER

                                                2


Case 1:10-cr-00158-CLC-SKL         Document 134        Filed 06/20/11      Page 2 of 3     PageID
                                         #: 277
                                   CHIEF UNITED STATES DISTRICT JUDGE




                                      3


Case 1:10-cr-00158-CLC-SKL   Document 134   Filed 06/20/11   Page 3 of 3   PageID
                                   #: 278
